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                               EXHIBIT N


                To Declaration of Micah West in Support of
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LOUISIANA POLITICS & GOVERNMENT



     New Orleans City Council votes to end jailing of indigent oﬀenders on minor
     crimes
       11   Posted on January 12, 2017 at 2:40 PM




                            Members of the crowd hold signs saying "Municipal Bail Reform Now"
                            during a meeting at City Hall in New Orleans on Thursday, January 12,
                            2017. (Photo by Chris Granger, Nola.com | The Times‑Picayune)(CHRIS
                            GRANGER)



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     BY KEVIN LITTEN, NOLA.COM
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     The New Orleans City Council on Thursday (Jan. 12) voted to allow people charged with minor city oﬀenses to be
     released without bail, a move supported by criminal justice reform advocates who said the system was unfair to
     poor people.

     The change, which is set to go in eﬀect in April, will apply to eligible defendants in Municipal Court. It does not
     apply to Criminal District Court.


     The council's unanimous vote came after the Criminal Justice Committee failed in September to vote the changes
     out of committee after a tie vote. But because the that tie didn't kill the changes, committee chairwoman Susan
     Guidry was able to bring the ordinance back on Thursday (Jan. 12) with several changes that council members said
        Case
were worked out3:17-cv-00321-WKW-SMD            Document
                with Police Superintendent Michael Harrison. 6-18          Filed 05/18/17       Page 3 of 7


                         Ordinance to overhaul bail for poor oﬀenders fails




In voting to remove bail for most minor oﬀenses, the City Council avoided what Loyola University law professor Bill
Quigley said would be a likely lawsuit seeking to force the city to rescind bail on those minor crimes. Similar
litigation has been successful in Alabama.

"This is a really wonderful thing the council is doing this voluntarily," Quigley said. "These are non‑violent, city
misdemeanors where people are arrested and booked and sit in jail just because they don't have access to several
hundred dollars.
It's not a signiﬁcant challenge to the safety of the community."




An annual average of 2,660 people with municipal court cases sit in jail in New Orleans for at least three days
waiting to go before a judge and then eventually be released on their own recognizance, Guidry said. There were
1,450 people who remained in jail for the duration of their case before it went to court ‑‑ usually for about a month.


If those people had access to small amounts of cash ‑‑ sometimes as low as $50 ‑‑ they would be released. The
practice of keeping poor people locked up for the simple reason that they don't have access to cash often prevents
the person from working, putting them in what Guidry called "an endless cycle of vicious debt."


"Imagine what that would do to your life, if you suddenly were, without warning, were in jail for three days," Guidry
said.


She said the measure will also save the city money because taxpayers will not have to pay to keep people locked up
due to lack of bail for minor oﬀenses.
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     New Orleans District "A" Susan G. Guidry, at right, during a meeting at City Hall on Thursday, January 12,
     2017. (Photo by Chris Granger, Nola.com | The Times‑Picayune) (CHRIS GRANGER)


Guidry included several changes to the legislation that would allow city police to ensure people charged with
certain minor crimes can remain locked up if they're deemed a danger to the community. There are also provisions
to keep people charged with repeat oﬀenses from being released if there's a concern that the person would commit
the crime again.




The charges exempted under the ordinance are assault, criminal trespass, disturbing the peace, cruelty to animals
and criminal damage to property.

There are also exceptions for domestic violence, battery, illegal carrying of weapons and impersonating a peace
oﬃcer. For these four crimes, defendants could be released within 24 hours of the charge after they make a court
appearance.

For all these exceptions, the court would need to make a determination of the "least restrictive non‑ﬁnancial
release conditions, tailored speciﬁcally to address the risk of ﬂight or danger to the community," according to the
ordinance. In the case of situations where violence is concerned, the restrictions could include protective orders.



                         Proponents of ending misdemeanor bail seek lifeline
               Case
     There is also an 3:17-cv-00321-WKW-SMD              Document
                      exception when a person "willfully failed        6-18
                                                                to appear        Fileddate."
                                                                          for a court  05/18/17       Page
                                                                                             If the court    5 that
                                                                                                          ﬁnds  of 7"all
     previous attempts at imposing non‑ﬁnancial conditions have failed," the court is allowed to set a money bond to
     ensure the person appears for their case.

     Councilman Jason Williams said the ordinance marks an important change that is aimed at making the justice
     system more equitable. He said the vast majority of people who will be helped by the changes are poor African
     Americans.




     "Certain folks ‑‑ black poor folks ‑‑ have been marginalized and made to bear a cost, the biggest tax, just to live in
     the United States of America," Williams said. "They're paying for the running of that (criminal justice) system, and
     this is an eﬀort to undo that and basically ﬁx something that has been intentionally one way for a long period of
     time."

     Williams said the police department plans to use a new software system that "will make sure people involved in a
     cycle of domestic violence" are not able to exploit the new legislation. He said police will have a way of "marking
     and ﬂagging those scenarios so others are not caught up in a system" where they're suﬀering from abuse.

     The advocacy group Orleans Parish Prison Reform Coalition, which has been pushing for the bail overhaul, praised
     the council vote. But they noted that there are many issues that still need to be addressed.

     "We applaud (the) City Council in taking on this important issue," the coalition said in a statement. "While this
     ordinance is an important step towards righting the injustices of the justice system, much work remains to be done
     towards ensuring that nobody is incarcerated simply because they are poor."

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LOUISIANA POLITICS & GOVERNMENT




     Louisiana House divided on applying domestic abuse charge to couples not
     living together
                  Updated on May 12, 2017 at 3:33 PM
     Comment
                  Posted on May 12, 2017 at 3:15 PM




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     BY LSU MANSHIP SCHOOL NEWS SERVICE


     BATON ROUGE ‑‑ The Louisiana House has voted 59‑30 to make dating partners qualify for cases of domestic
     abuse even if they are not living together. The bill now goes to the Senate.

     House Bill 223 by Rep. Helena Moreno, D‑New Orleans, expands the coverage of domestic abuse. Currently, state
     law allows the criminal charge only for family and household members. A domestic abuser who is dating and not
     living with the victim is charged with a diﬀerent crime, often simple battery. Moreno said law enforcement supports
     the new provision.
        Case
The House     3:17-cv-00321-WKW-SMD
          approved                                 Document
                   the bill Thursday (May 11). It does         6-18
                                                       not apply        Filedor05/18/17
                                                                 to business                  Page 6 of 7
                                                                                platonic relationships.




                                La. House removes marriage from domestic violence law




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    See how your representative voted on HB 223:




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